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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                                                       Case No. 19-cv-06910
                        Plaintiff,

       v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


                                         COMPLAINT

       Plaintiff Tommy Hilfiger Licensing LLC (“Plaintiff” or “Tommy Hilfiger”) hereby

brings the present action against the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”) and alleges as follows:

                              I.     JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain
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Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using infringing and

counterfeit versions of Tommy Hilfiger’s trademarks. Each of the Defendants has targeted sales

from Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and, on information and belief, has sold

products using infringing and counterfeit versions of Tommy Hilfiger’s federally registered

trademarks to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois,

is engaging in interstate commerce, and has wrongfully caused Tommy Hilfiger substantial

injury in the State of Illinois.

                                     II.   INTRODUCTION

        3.      This action has been filed by Tommy Hilfiger to combat Internet Store operators

who trade upon Tommy Hilfiger’s reputation and goodwill by offering for sale and/or selling

unauthorized and unlicensed products using infringing and counterfeit versions of Tommy

Hilfiger’s federally registered trademarks (collectively, “Counterfeit Tommy Hilfiger Products”).

Defendants create the Defendant Internet Stores by the dozens and design them to appear to be

selling genuine Tommy Hilfiger products, while actually selling Counterfeit Tommy Hilfiger

Products to unknowing consumers. The Defendant Internet Stores share unique identifiers, such

as design elements and similarities of the Counterfeit Tommy Hilfiger Products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ counterfeiting

operation arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid liability by going to great lengths to conceal both their identities and


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the full scope and interworking of their counterfeiting operation. Tommy Hilfiger is forced to

file this action to combat Defendants’ counterfeiting of its registered trademarks, as well as to

protect unknowing consumers from purchasing Counterfeit Tommy Hilfiger Products over the

Internet. Tommy Hilfiger has been and continues to be irreparably damaged through consumer

confusion, dilution, and tarnishment of its valuable trademarks as a result of Defendants’ actions

and seeks injunctive and monetary relief.

          4.      Tommy Hilfiger, along with its affiliated company Tommy Hilfiger U.S.A., Inc.,

designs, sources, distributes, sells, and markets throughout the United States, including Illinois,

quality apparel, accessories and other products, all of which prominently display its famous,

internationally-recognized and federally-registered trademarks (collectively, the “Tommy

Hilfiger Branded Products”). Tommy Hilfiger Branded Products have become enormously

popular and even iconic, driven by Tommy Hilfiger’s arduous quality standards and innovative

design.        Among the purchasing public, Tommy Hilfiger Branded Products are instantly

recognizable as such.

          5.      Tommy Hilfiger Branded Products have been continuously sold under the Tommy

Hilfiger trademarks in the United States for many years. Tommy Hilfiger Branded Products are

distributed and sold to consumers through department stores, retail stores and authorized e-

commerce sites throughout the United States and in Illinois, including through the official e-

commerce tommy.com website launched in 2004.

          6.      Tommy Hilfiger incorporates a variety of distinctive marks in the design of its

various Tommy Hilfiger Branded Products. As a result of this long-standing use, Tommy

Hilfiger owns common law trademark rights in its trademarks.           Tommy Hilfiger has also

registered its trademarks with the United States Patent and Trademark Office. Tommy Hilfiger



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Branded Products typically include at least one of the federally registered Tommy Hilfiger

trademarks. Tommy Hilfiger uses its trademarks in connection with the marketing of its Tommy

Hilfiger Branded Products, including the following marks, which are collectively referred to as

the “Tommy Hilfiger Trademarks.”

  Registration
                            Trademark                          Goods and Services
      No.
                                                   For: clothing for men and women: namely,
                                                   shirts, pants, jackets, sweaters, shorts, belts,
    1,398,612           TOMMY HILFIGER             vests, sport jackets, coats, rain coats, parkas
                                                   in class 025.

                                                   For: clothing for men, namely, shirts,
                                                   sweaters, pants, sweatshirts, shorts, sport
                                                   jackets, parkas, bathing suits, vests in
                                                   class 025.
    1,738,410           TOMMY HILFIGER

                                                   For: retail clothing store services in class
                                                   042.

                                                   For: ties, socks, suspenders, hats, caps, suits
    1,833,391           TOMMY HILFIGER             and blazers in class 025.

                                                   For: deodorants and soaps for personal
                                                   use in class 003.

                                                   For: articles of leather and imitation
                                                   leather, namely, wallets, credit card
    1,995,802           TOMMY HILFIGER             cases, billfolds, umbrellas and
                                                   travelling bags in class 018.

                                                   For: bathrobes, tuxedos, pajamas,
                                                   underpants and undershirts in class 025.

                                                   For: eyewear, namely, eyeglasses, sunglasses
                                                   and eyeglass frames and lenses and eyewear
    2,103,148           TOMMY HILFIGER             accessories, namely, cases and holders in
                                                   class 009.




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                                         For: jewelry made of precious and non-
                                         precious metals and stones, namely,
                                         cuff- links, and bracelets in class 014.
2,162,940       TOMMY HILFIGER
                                         For: footwear, namely, shoes, boots,
                                         sneakers, sandals and slippers in class 025.

                                         For: jewelry, namely, necklaces, and
                                         rings in class 014.
2,485,457       TOMMY HILFIGER
                                         For: pillows in class 020.

                                         For: watches in class 014.
2,617,339       TOMMY HILFIGER

                                         For: clothing for men, women and
                                         children, namely, t-shirts, sweatshirts,
2,389,024             TOMMY              sweaters, jackets, coats, jeans, and caps
                                         in class 025.

                                         For: full line of apparel and headwear in
2,475,142             TOMMY              class 025.

                                         For: handbags in class 018.
2,772,857             TOMMY
                                         For: clothing, namely, shirts, t-shirts,
                                         sweatshirts, sweaters, shorts, sweatpants,
                                         blazers, pants, jeans, suits, vests, jackets,
                                         coats, parkas, ponchos, swimwear, swim
3,164,348            HILFIGER            trunks, rainwear, wind resistant jackets,
                                         underwear, belts, hats, caps, scarves, boxer
                                         shorts, shoes, boots, sneakers, sandals, and
                                         gloves in class 025.

                                         For: clothing, namely, shirts, t-shirts,
                                         sweatshirts, tank tops, sweaters, turtle-
                                         necks, shorts, sweatpants, blazers, pants,
                                         jeans, skirts, suits, overalls, dresses,
2,899,046        HILFIGER DENIM          vests, jackets, coats, parkas, ponchos,
                                         swimwear, bikinis, swim trunks,
                                         overcoats, belts, hats, wool hats, caps,
                                         scarves, and gloves in class 025.




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                                         For: Jewelry and watches in class 014.
2,563,735               TH

                                         For: full line of apparel in class 025.
2,612,455               TH

                                         For: Full line of handbags, backpacks,
                                         and cosmetic bags sold empty in class
2,697,281               TH
                                         018.

                                         For: Eyeglasses, sunglasses and frames
3,084,022               TH               for eyeglasses in class 009.

                                         For: clothing for men and women, namely,
                                         shirts, pants, jackets, sweaters, shorts, belts,
1,460,988                                vests, sport jackets, coats, rain coats, parkas
                                         in class 025.

                                         For: clothing for men namely, shirts,
                                         sweaters, sportcoats, pants, sweatshirts,
                                         shorts, sport jackets, raincoats, parkas,
                                         overcoats, bathing suits, vests, turtlenecks;
                                         clothing for boys, namely, shirts, sweaters,
1,727,740                                sportcoats, pants, sweatshirts, shorts, sport
                                         jackets, parkas, bathing suits, vests in
                                         class 025.

                                         For: retail clothing store services in class
                                         042.


                                         For: socks, ties, hats, caps and blazers in
1,808,520                                class 025.


                                         For: cologne, eau de toilette, shaving
                                         lotion, deodorant and soap for personal
                                         use in 003.

                                         For: articles of leather and imitation
                                         leather, namely wallets, credit card
2,030,406
                                         cases, billfolds, umbrellas and
                                         travelling bags in class 018.

                                         For: bathrobes, tuxedos, pajamas,
                                         underpants, undershirts and suspenders in
                                         class 025.

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                                         For: footwear, namely, shoes, boots,
2,213,511                                sneakers, sandals and slippers in class 025.


                                         For: eyewear, namely, eyeglasses,
                                         sunglasses and eyeglass frames and lenses
2,063,504                                and eyewear accessories, namely, cases
                                         and holders in class 009.


                                         For: soaps; perfumery; colognes; toilet
                                         water; perfumes, fragrances for
                                         personal use; lotions for skin care;
                                         antiperspirants; deodorants for personal
                                         use in 003.

                                         For: optical goods, namely, spectacles,
                                         spectacle glasses, sunglasses, eyeglass
                                         cases and sunglasses cases, carrying
                                         cases and holders for portable
                                         computers and mobile phones, magnetic
                                         coded cards, namely, gift cards in class
                                         009.

                                         For: jewelry, namely, bracelets,
                                         necklaces, rings, earrings, cufflinks,
                                         horological and chronometric
4,745,262                                instruments, namely, watches, wrist
                                         watches, straps for wrist watches in
                                         class 014.
                                         For: all purpose sports bags and athletic
                                         bags; overnight bags; book bags; tote
                                         bags; travelling bags; backpacks;
                                         handbags; luggage; suitcases; purses;
                                         briefcases; travel bags; duffel bags and
                                         beach bags, school bags; garment bags
                                         for travel; overnight cases, clutch bags;
                                         travel kit bags sold empty; suitcases
                                         with wheels attached; billfolds; wallets,
                                         pocket wallets, change purses, coin
                                         purses, credit card cases of leather;
                                         leather credit card wallets; name card
                                         cases; cosmetic cases sold empty;
                                         leather cases for cosmetics sold empty;
                                         umbrellas in class 018.

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                                        For: fabrics and textile goods, namely,
                                        household linen, bed linen, bath linen, bed
                                        sheets, pillow shams, pillow cases, bed
                                        blankets, comforters, quilts, bedspreads, bed
                                        covers, duvet covers, duvets, dust ruffles,
                                        mattress covers, towels, bath towels, beach
                                        towels, face cloths, shower curtains,
                                        handkerchiefs in class 024.

                                        For: clothing for men, women and children
                                        and infants, namely, shirts, golf shirts, t-
                                        shirts, polo shirts, knit tops, woven tops,
                                        sweatshirts, tank tops, sweaters, blouses,
                                        jerseys, turtlenecks, shorts, sweatpants,
                                        warm-up suits, blazers, sport coats, trousers,
                                        jeans, skirts, dresses, suits, overalls,
                                        jumpers, vests, jackets, coats, raincoats,
                                        parkas, ponchos, swimwear, bikinis, swim
                                        trunks, overcoats, rainwear, wind resistant
                                        jackets, sleepwear, pajamas, bathrobes,
                                        underwear, lingerie, boxer shorts, belts made
                                        of leather, ties; headgear, namely, hats, wool
                                        hats, caps, visors, headbands, ear muffs;
                                        scarves, shawls, cloth bibs; footwear, gym
                                        shoes, sneakers, socks, hosiery, shoes, boots,
                                        beach shoes, sandals, slippers, gloves,
                                        suspenders; layettes in class 025.

                                        For: retail department store services,
                                        online retail department store services,
                                        online retail outlet services featuring
                                        perfumery, cosmetics, clothing, footwear,
                                        headgear, textile goods, goods made of
                                        leather or imitation of leather, bags,
                                        eyewear, jewellery, watches and
                                        horological and chronometric
                                        instruments, household accessories, and
                                        home items in class 035.




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                                                   For: clothing for men, women and children,
                                                   namely, shirts, golf shirts, T-shirts,
    3,264,718                                      sweatshirts, tank tops, sweaters, jeans, vests,
                                                   jackets, coats, parkas, underwear, scarves in
                                                   class 025.




    3,264,715                                      For: handbags in class 018.




       7.       The above U.S. registrations for the Tommy Hilfiger Trademarks are valid,

subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065.

The registrations for the Tommy Hilfiger Trademarks constitute prima facie evidence of their

validity and of Tommy Hilfiger’s exclusive right to use the Tommy Hilfiger Trademarks

pursuant to 15 U.S.C. § 1057(b). True and correct copies of the United States Registration

Certificates for the above-listed Tommy Hilfiger Trademarks are attached hereto as Exhibit 1.

       8.       The Tommy Hilfiger Trademarks are exclusive to Tommy Hilfiger and are

displayed extensively on Tommy Hilfiger Branded Products and in Tommy Hilfiger’s marketing

and promotional materials. Tommy Hilfiger Branded Products have long been among the most

popular and recognizable of their kind, and have been extensively promoted and advertised at

great expense. In fact, Tommy Hilfiger has expended millions of dollars annually in advertising,

promoting and marketing featuring the Tommy Hilfiger Trademarks. Because of these and other

factors, the Tommy Hilfiger Trademarks are famous marks as that term is used in 15 U.S.C. §

1125(c)(1).




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       9.         The Tommy Hilfiger Trademarks are distinctive when applied to the Tommy

Hilfiger Branded Products, signifying to the purchaser that the products come from Tommy

Hilfiger and are manufactured to Tommy Hilfiger’s quality standards. As such, the goodwill

associated with the Tommy Hilfiger Trademarks is of incalculable and inestimable value to

Tommy Hilfiger.

       10.        In recent years, annual sales of products bearing the Tommy Hilfiger Trademarks

have totaled in the hundreds of millions of dollars within the United States. Since at least as

early as 2004, Tommy Hilfiger has operated a website where it promotes and sells genuine

Tommy Hilfiger Branded Products at tommy.com. Sales of Tommy Hilfiger Branded Products

via the tommy.com website represent a significant portion of Tommy Hilfiger’s business. The

tommy.com website features proprietary content, images and designs exclusive to the Tommy

Hilfiger brand.

       11.        Tommy Hilfiger has expended substantial time, money and other resources

developing, advertising and otherwise promoting the Tommy Hilfiger Trademarks. As a result

of these efforts, members of the consuming public readily identify merchandise bearing or sold

under the Tommy Hilfiger Trademarks as being quality Tommy Hilfiger Branded Products.

The Defendants

       12.        Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and



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continues to sell Counterfeit Tommy Hilfiger Products to consumers within the United States,

including the State of Illinois.

        13.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using infringing and counterfeit versions of the Tommy Hilfiger

Trademarks in the same transaction, occurrence, or series of transactions or occurrences. Tactics

used by Defendants to conceal their identities and the full scope of their counterfeiting operation

make it virtually impossible for Tommy Hilfiger to learn Defendants’ true identities and the

exact interworking of their counterfeit network. In the event that Defendants provide additional

credible information regarding their identities, Tommy Hilfiger will take appropriate steps to

amend the Complaint.

                        IV.   DEFENDANTS’ UNLAWFUL CONDUCT

        14.     The success of the Tommy Hilfiger brand has resulted in significant

counterfeiting. Consequently, Tommy Hilfiger has a worldwide anti-counterfeiting program and

regularly investigates suspicious websites and online marketplace listings identified in proactive

Internet sweeps and reported by consumers. In recent years, Tommy Hilfiger has identified

hundreds of domain names linked to fully interactive websites and marketplace listings on

platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including

the Defendant Internet Stores, which were offering for sale and selling Counterfeit Tommy

Hilfiger Products to consumers in this Judicial District and throughout the United States.

Despite Tommy Hilfiger’s enforcement efforts, Defendants have persisted in creating the

Defendant Internet Stores. E-commerce sales, including through Internet stores like those of

Defendants, have resulted in a sharp increase in the shipment of unauthorized products into the



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United States. Exhibit 2, Excerpts from Fiscal Year 2018 U.S. Customs and Border Protection

(“CBP”) Intellectual Property Seizure Statistics Report. Over 90% of all CBP intellectual

property seizures were smaller international mail and express shipments (as opposed to large

shipping containers). Id. Over 85% of CBP seizures originated from mainland China and Hong

Kong. Id. Counterfeit and pirated products account for billions in economic losses, resulting in

tens of thousands of lost jobs for legitimate businesses and broader economic losses, including

lost tax revenue.

       15.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Western Union, Amazon Pay, and/or PayPal. The Defendant Internet Stores

often include content and design elements that make it very difficult for consumers to distinguish

such counterfeit sites from an authorized website. Many Defendants further perpetuate the

illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos.          Tommy Hilfiger has not licensed or authorized

Defendants to use any of the Tommy Hilfiger Trademarks, and none of the Defendants are

authorized retailers of genuine Tommy Hilfiger Branded Products.

       16.     Many Defendants also deceive unknowing consumers by using the Tommy

Hilfiger Trademarks without authorization within the content, text, and/or meta tags of their

websites in order to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for Tommy Hilfiger Branded Products.            Additionally, upon

information and belief, Defendants use other unauthorized search engine optimization (SEO)



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tactics and social media spamming so that the Defendant Internet Stores listings show up at or

near the top of relevant search results and misdirect consumers searching for genuine Tommy

Hilfiger Branded Products. Other Defendants only show the Tommy Hilfiger Trademarks in

product images, while using strategic item titles and descriptions that will trigger their listings

when consumers are searching for Tommy Hilfiger Branded Products.

       17.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       18.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.           For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Tommy Hilfiger Products for sale

in the Defendant Internet Stores bear similar irregularities and indicia of being counterfeit to one

another, suggesting that the Counterfeit Tommy Hilfiger Products were manufactured by and

come from a common source and that Defendants are interrelated. The Defendant Internet



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Stores also include other notable common features, including use of the same domain name

registration patterns, shopping cart platforms, accepted payment methods, check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, the same

incorrect grammar and misspellings, similar hosting services, similar name servers, and the use

of the same text and images.

       19.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       20.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Tommy Hilfiger’s enforcement efforts. On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.



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        21.    Defendants, without any authorization or license from Tommy Hilfiger, have

knowingly and willfully used and continue to use the Tommy Hilfiger Trademarks in connection

with the advertisement, distribution, offering for sale, and sale of Counterfeit Tommy Hilfiger

Products into the United States and Illinois over the Internet. Each Defendant Internet Store

offers shipping to the United States, including Illinois, and, on information and belief, each

Defendant has sold Counterfeit Tommy Hilfiger Products into the United States, including

Illinois.

        22.    Defendants’ unauthorized use of the Tommy Hilfiger Trademarks in connection

with the advertising, distribution, offering for sale, and sale of Counterfeit Tommy Hilfiger

Products, including the sale of Counterfeit Tommy Hilfiger Products into the United States,

including Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Tommy Hilfiger.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        23.    Tommy Hilfiger hereby re-alleges and incorporates by reference the allegations

set forth in paragraphs 1 through 22.

        24.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Tommy

Hilfiger Trademarks in connection with the sale, offering for sale, distribution, and/or advertising

of infringing goods. The Tommy Hilfiger Trademarks are highly distinctive marks. Consumers

have come to expect the highest quality from Tommy Hilfiger Branded Products offered, sold or

marketed under the Tommy Hilfiger Trademarks.

        25.    Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

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counterfeit reproductions of the Tommy Hilfiger Trademarks without Tommy Hilfiger’s

permission.

       26.     Tommy Hilfiger is the exclusive owner of the Tommy Hilfiger Trademarks.

Tommy Hilfiger’s United States Registrations for the Tommy Hilfiger Trademarks (Exhibit 1)

are in full force and effect. Upon information and belief, Defendants have knowledge of Tommy

Hilfiger’s rights in the Tommy Hilfiger Trademarks, and are willfully infringing and

intentionally using counterfeits of the Tommy Hilfiger Trademarks.            Defendants’ willful,

intentional and unauthorized use of the Tommy Hilfiger Trademarks is likely to cause and is

causing confusion, mistake, and deception as to the origin and quality of the Counterfeit Tommy

Hilfiger Products among the general public.

       27.     Defendants’    activities   constitute   willful   trademark    infringement   and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       28.     Tommy Hilfiger has no adequate remedy at law, and if Defendants’ actions are

not enjoined, Tommy Hilfiger will continue to suffer irreparable harm to its reputation and the

goodwill in the well-known Tommy Hilfiger Trademarks.

       29.     The injuries and damages sustained by Tommy Hilfiger have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Tommy Hilfiger Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       30.     Tommy Hilfiger hereby re-alleges and incorporates by reference the allegations

set forth in paragraphs 1 through 29.

       31.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Tommy Hilfiger Products has created and is creating a likelihood of confusion, mistake, and

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deception among the general public as to the affiliation, connection, or association with Tommy

Hilfiger or the origin, sponsorship, or approval of Defendants’ Counterfeit Tommy Hilfiger

Products by Tommy Hilfiger.

       32.     By using the Tommy Hilfiger Trademarks in connection with the sale of

Counterfeit Tommy Hilfiger Products, Defendants create a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the Counterfeit Tommy

Hilfiger Products.

       33.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Tommy Hilfiger Products to the general public

involves the use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act,

15 U.S.C. § 1125.

       34.     Tommy Hilfiger has no adequate remedy at law and, if Defendants’ actions are

not enjoined, Tommy Hilfiger will continue to suffer irreparable harm to its reputation and the

goodwill of the Tommy Hilfiger brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       35.     Tommy Hilfiger hereby re-alleges and incorporates by reference the allegations

set forth in paragraphs 1 through 34.

       36.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Tommy Hilfiger Products as those of Tommy Hilfiger, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine Tommy Hilfiger Branded Products, representing that their Counterfeit Tommy



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Hilfiger Products have Tommy Hilfiger’s approval when they do not, and engaging in other

conduct which creates a likelihood of confusion or misunderstanding among the public.

       37.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       38.      Tommy Hilfiger has no adequate remedy at law, and Defendants’ conduct has

caused Tommy Hilfiger to suffer damage to its reputation and goodwill. Unless enjoined by the

Court, Tommy Hilfiger will suffer future irreparable harm as a direct result of Defendants’

unlawful activities.

                                     PRAYER FOR RELIEF
WHEREFORE, Tommy Hilfiger prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under, or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the Tommy Hilfiger Trademarks or any reproductions, counterfeit copies or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             Tommy Hilfiger Branded Product or is not authorized by Tommy Hilfiger to be sold

             in connection with the Tommy Hilfiger Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Tommy Hilfiger Branded Product or any other product produced by Tommy Hilfiger,

             that is not Tommy Hilfiger’s or not produced under the authorization, control, or

             supervision of Tommy Hilfiger and approved by Tommy Hilfiger for sale under the

             Tommy Hilfiger Trademarks;



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      c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Tommy Hilfiger Products are those sold under the authorization, control

          or supervision of Tommy Hilfiger, or are sponsored by, approved by, or otherwise

          connected with Tommy Hilfiger;

      d. further infringing the Tommy Hilfiger Trademarks and damaging Tommy Hilfiger’s

          goodwill; and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Tommy Hilfiger, nor authorized by

          Tommy Hilfiger to be sold or offered for sale, and which bear any of Tommy

          Hilfiger’s trademarks, including the Tommy Hilfiger Trademarks, or any

          reproductions, counterfeit copies, or colorable imitations thereof;

2) Entry of an Order that, at Tommy Hilfiger’s choosing, the registrant of the Defendant

   Domain Names shall be changed from the current registrant to Tommy Hilfiger, and that the

   domain name registries for the Defendant Domain Names, including, but not limited to,

   VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest

   Registry, shall unlock and change the registrar of record for the Defendant Domain Names to

   a registrar of Tommy Hilfiger’s selection, and that the domain name registrars, including, but

   not limited to, GoDaddy Operating Company, LLC (“GoDaddy”), Name.com, PDR LTD.

   d/b/a PublicDomainRegistry.com (“PDR”), and Namecheap, Inc. (“Namecheap”) shall take

   any steps necessary to transfer the Defendant Domain Names to a registrar account of

   Tommy Hilfiger’s selection; or that the same domain name registries shall disable the

   Defendant Domain Names and make them inactive and untransferable;



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3) Entry of an Order that, upon Tommy Hilfiger’s request, those in privity with Defendants and

   those with notice of the injunction, including, without limitation, any online marketplace

   platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web

   hosts, sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods using the Tommy Hilfiger Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

          Defendants in connection with the sale of counterfeit and infringing goods using the

          Tommy Hilfiger Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

          on Schedule A from displaying in search results, including, but not limited to,

          removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Tommy Hilfiger all profits realized by Defendants by

   reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the Tommy Hilfiger Trademarks be increased by a sum not exceeding three

   times the amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Tommy Hilfiger be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   Tommy Hilfiger Trademarks;



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6) That Tommy Hilfiger be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.

Dated this 21st day of October 2019.    Respectfully submitted,



                                             /s/ Justin R. Gaudio
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             RiKaleigh C. Johnson
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080 / 312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             rjohnson@gbc.law

                                             Counsel for Plaintiff
                                             Tommy Hilfiger Licensing LLC




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